                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN


United States of America,
                                                Case No. 2:25-cr-00089-LA-NJ
       v.

Hannah C. Dugan

              Defendant.


       MOTION OF FORMER STATE AND FEDERAL JUDGES FOR LEAVE
        TO FILE AMICUS CURIAE BRIEF IN SUPPORT OF DEFENDANT’S
                  MOTION TO DISMISS THE INDICTMENT




Abbe David Lowell*                                 Norman L. Eisen*
Brenna Frey*                                       Counsel for Amici
David A. Kolansky*                                 DEMOCRACY DEFENDERS FUND
Isabella M. Oishi*                                 600 Pennsylvania Avenue, S.E.
Counsel for Amici                                  Suite 15180
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       Pursuant to Local Civil Rule 7(i), 138 former state and federal judges from across the

country seek leave to file the attached amicus curiae brief in support of Defendant Hannah C.

Dugan’s motion to dismiss the indictment (ECF 18). 1 On May 29, 2025, counsel for proposed

Amici sought consent from the parties regarding this Motion. Defense counsel consents to this

Motion, while counsel for the government stated that they do not “think [proposed Amici] need

[the government’s] consent to file a motion for leave to file an amicus brief.” A copy of the

proposed amicus curiae brief is filed herewith as Exhibit A. 2 No memorandum, other than this

document and its attachments, are being submitted. See Civil L.R. 7(a)(2).

       Proposed Amici include former federal judges nominated to the federal bench by Presidents

Jimmy Carter, Ronald Reagan, Bill Clinton, and George H.W. Bush, and who served in a variety

of U.S. Bankruptcy, District, and Circuit Courts. Proposed Amici also include former state court

judges of all levels, who hail from 24 different states around the country.

       As former state and federal judges, proposed Amici are uniquely positioned to provide the

Court with information on the broad-reaching implications of this indictment on courts and judicial

officers, both state and federal, in our constitutional system of checks and balances. Johnson v.

U.S. Off. of Pers. Mgmt., 2014 WL 1681691, at *1 (E.D. Wis. Apr. 28, 2014) (explaining that one

criterion for permitting an amicus brief is when the amicus offers “a unique perspective or specific

information that can assist the court beyond what the parties can provide”) (internal citations

omitted). The indictment in this matter raises important questions concerning judicial immunity,


1
  The list of former state and federal judges on whose behalf this Motion is submitted appears at
the end of this motion, Appendix A. They are seeking to participate as amici in their personal
capacity and not as members of any organization, law firm, company, or other employer.
2
  No party’s counsel authored or contributed to the brief in whole or in part. No party or party’s
counsel, and no person other than proposed Amici or their counsel contributed money intended to
fund preparing or submitting this brief.
                                                 1


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maintaining an impartial and independent judiciary, public trust in the judicial process, and

anticommandeering of state officers and institutions under the Tenth Amendment. Each of these

bedrock principles are foundational to our democratic system of government. Proposed Amici

come together now in this extraordinary time in history to file a “friend of the court” brief to

publicly renounce the federal government’s prosecution of Wisconsin Circuit Court Judge Hannah

Dugan, and to lend their unique perspective and voice concerning this case. It is firmly within this

Court’s discretion to permit the filing of an amicus curiae brief submitted by Amici with “‘a unique

perspective or specific information that can assist the court beyond what the parties can provide.’”

Johnson, 2014 WL 1681691, at *1 (citing Nat’l Org. for Women, Inc. v. Scheidler, 223 F.3d 615,

616–17 (7th Cir. 2000)).

       WHEREFORE, proposed Amici respectfully requests that this Court grant their motion to

file the proposed amicus curiae brief.

Dated: May 30, 2025                                  Respectfully Submitted,

s/ Abbe David Lowell                                   s/ Norman L. Eisen
Abbe David Lowell*                                     Norman L. Eisen*
Brenna Frey*                                           Counsel for Amici
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IOishi@lowellandassociates.com                         LAW FORWARD, INC.
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                                         APPENDIX A

                                          List of Amici

Judge Nancy Gertner, U.S. District Judge, District of Massachusetts (Ret.)
Judge Michael Luttig, U.S. Circuit Judge, U.S. Court of Appeals for the Fourth Circuit (Ret.)
Judge Verna A. Adams, Marin County Superior Court, California (Ret.)
Judge Elaine Andrews, Alaska Superior Court (Ret.)
Judge Beth M. Andrus, Washington State Court of Appeals (Ret.)
Judge Stephanie A. Arend, Pierce County Superior Court, Wisconsin (Ret.)
Chief Justice Thomas A. Balmer, Oregon Supreme Court (Ret.)
Judge Paul A. Bastine, Spokane County Superior Court, Washington (Ret.)
Associate Justice William W. Bedsworth, California Court of Appeals (Ret.)
Chief Justice Sue Bell Cobb, Alabama Supreme Court (Ret.)
Chief Justice Michael L. Bender, Colorado Supreme Court (Ret.)
Judge Mark W. Bennett, U.S. District Judge, Northern District of Iowa (Ret.)
Judge Linda L. Bergman, Multnomah Circuit Court, Oregon (Ret.)
Associate Justice Margot Botsford, Massachusetts Supreme Judicial Court (Ret.)
Associate Justice Bobbe J. Bridge, Washington Supreme Court (Ret.)
Judge Regina S. Cahan, King County Superior Court, Washington (Ret.)
Judge William Cahill, San Francisco County Superior Court, California (Ret.)
Chief Justice Walter L. Carpeneti, Alaska Supreme Court (Ret.)
Judge Wynne Carvill, Alameda County Superior Court, California (Ret.)
Judge Paula Casey, Thurston County Superior Court, Washington (Ret.)
Judge Patrick A. Cathcart, Los Angeles County Superior Court, California (Ret.)
Judge Harriett M. Cody, King County Superior Court, Washington (Ret.)
Chief Justice Dori Contreras, Texas Thirteenth District Court of Appeals (Ret.)
Associate Justice Patricia Cotter, Montana Supreme Court (Ret.)
Judge Susan E. Cox, U.S. Magistrate Judge, Northern District of Illinois (Ret.)
Judge Martin Cronin, Essex County Superior Court, New Jersey (Ret.)
Judge Ronald E. Culpepper, Pierce County Superior Court, Washington (Ret.)
Judge Beverly W. Cutler, Alaska Superior Court, 3rd Judicial District (Ret.)

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Judge Lisa Daniel Flores, Maricopa County Superior Court, Arizona (Ret.)
Judge James Dannenberg, Hawaii State District Court (Ret.)
Judge Morton Denlow, U.S. Magistrate Judge, Northern District of Illinois (Ret.)
Judge David K. Duncan, U.S. Magistrate, Judge District of Arizona (Ret.)
Judge Lynn Duryee, Marin County Superior Court, California (Ret.)
Justice Mark Dwyer, New York State Supreme Court (Ret.)
Judge Anita H. Dymant, Los Angeles Superior Court, California (Ret.)
Judge Noel Fidel, Arizona Court of Appeals (Ret.)
Judge Francisco Firmat, Orange County Superior Court, California (Ret.)
Justice Helen Freedman, New York Supreme Court (Ret.)
Judge Ben H. Gaddis, Third Circuit Family Court, Hawaii (Ret.)
Judge Julia L. Garratt, King County Superior Court, Washington (Ret.)
Judge Deborra Garrett, Whatcom County Superior Court, Washington (Ret.)
Judge Steven M. Gold, U.S. Magistrate Judge, Eastern District of New York (Ret.)
Justice Emily Jane Goodman, New York State Supreme Court (Ret.)
Judge Dianna Gould-Saltman, Los Angeles Superior Court, California (Ret.)
Judge Ernestine S. Gray, Orleans Parish Juvenile Court, Louisiana (Ret.)
Chief Justice Mark V. Green, Massachusetts Appeals Court (Ret.)
Associate Justice L. Priscilla Hall, New York State Supreme Court, Appellate Division (Ret.)
Judge Helen Halpert, King County Superior Court, Washington (Ret.)
Judge Leslie A. Hayashi, O`ahu First Circuit District Court, Hawaii (Ret.)
Associate Judge Brook Hedge, D.C. Superior Court (Ret.)
Judge James Hely, Union County Superior Court, New Jersey (Ret.)
Judge Thelton Henderson, U.S. District Judge, Northern District of California (Ret.)
Judge Bethany G. Hicks, Maricopa County Superior Court, Arizona (Ret.)
Associate Justice Geraldine Hines, Massachusetts Supreme Judicial Court (Ret.)
Judge Vicki L. Hogan, Pierce County Superior Court, Washington (Ret.)
Judge J. Robin Hunt, Washington Court of Appeals (Ret.)
Judge Barbara Jaffe, New York State Supreme Court (Ret.)
Chief Justice Wallace B. Jefferson, Texas Supreme Court (Ret.)
Judge Lowell Jensen, U.S. District Judge, Northern District of California (Ret.)
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Judge Henry Kantor, Multnomah Circuit Court, Oregon (Ret.)
Associate Judge Anne Keary, D.C. Superior Court (Ret.)
Judge Ronald Kessler, King County Superior Court, Washington (Ret.)
Judge Steven J. Kleifield, Los Angeles Superior Court, California (Ret.)
Judge Michael S. Kupersmith, Vermont Superior Court (Ret.)
Judge David A. Kurtz, Snohomish County Superior Court, Washington (Ret.)
Judge James Larson, U.S. Magistrate Judge Northern District of California (Ret.)
Judge Michael A. Latin, Los Angeles Superior Court, California (Ret.)
Judge Linda Lau, King County Superior Court Washington State Court of Appeals (Ret.)
Associate Justice Barbara A. Lenk, Massachusetts Supreme Judicial Court (Ret.)
Judge John P. Leopold, Colorado District Court (Ret.)
Judge Keith Levy, Alaska First District Court (Ret.)
Judge Michael Paul Linfield, Los Angeles Superior Court, California (Ret.)
Judge John Lohrmann, Walla Walla County Superior Court, Washington (Ret.)
Judge Richard Lyman, Los Angeles Superior Court, California (Ret.)
Judge Barbara Mack, King County Superior Court, Washington (Ret.)
Judge Patrick J. Mahoney, San Francisco Superior Court, California (Ret.)
Judge Roanne L. Mann, U.S. Magistrate Judge, Eastern District of New York (Ret.)
Judge Victoria S. Marks, Hawaii First Circuit Court (Ret.)
Justice Mary McGowan Davis, New York State Supreme Court, NY County (Ret.)
Associate Justice James F. McHugh, Massachusetts Appeals Court (Ret.)
Judge Kevin McKenney, Santa Clara County Superior and Municipal Courts, California (Ret.)
Judge Christopher Melly, Clallam County Superior Court, Washington (Ret.)
Judge John Meyer, Skagit County Superior Court, Washington (Ret.)
Associate Judge John M. Mott, D.C. Superior Court (Ret.)
Associate Justice Christopher J Muse, Massachusetts Superior Court (Ret.)
Judge Denise Navarre Cubbon, Lucas Court of Common Pleas, Juvenile Division, Ohio (Ret.)
Associate Justice James C. Nelson, Montana Supreme Court (Ret.)
Judge Peggy J. Nelson, 8th Judicial District Court of New Mexico (Ret.)
Judge Leslie C. Nichols, Santa Clara County Superior Court, California (Ret.)
Associate Judge Rita M. Novak, Cook County Circuit Court, Illinois (Ret.)
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Justice Michael J. Obus, New York County Supreme Court, New York (Ret.)
Judge Rafael Ongkeko, Los Angeles Superior Court, California (Ret.)
Judge Brian Owsley, U.S. Magistrate Judge, Southern District of Texas (Ret.)
Judge Gary Oxenhandler, 13th Judicial Circuit Court, Missouri (Ret.)
Judge Philip M. Pallenberg, Alaska Superior Court (Ret.)
Chief Justice Barbara J. Pariente, Florida Supreme Court (Ret.)
Judge Lynn Pickard, New Mexico Court of Appeals (Ret.)
Judge Dean B. Pineles, Vermont District Court (Ret.)
Judge Maurice Portley, Arizona Court of Appeals (Ret.)
Associate Justice Fernande R.V. Duffly, Massachusetts Supreme Judicial Court (Ret.)
Judge Jeffrey M. Ramsdell, King County Superior Court, Washington (Ret.)
Judge Judith H. Ramseyer, King County Superior Court, Washington (Ret.)
Justice Rosalyn Richter, New York State Court Appellate Division, First Department (Ret.)
Judge Palmer Robinson, King County Superior Court, Washington (Ret.)
Judge John Romero, 2nd Judicial District Court, New Mexico (Ret.)
Judge David A. Rosen, Los Angeles Superior Court, California (Ret.)
Judge Carol Schapira, King County Superior Court, Washington (Ret.)
Judge Barry C. Schneider, Maricopa County Superior Court (Ret.)
Judge Robert Schnider, Los Angeles Superior Court, California (Ret.)
Judge Richard L. Seabolt, Alameda County Superior Court, California (Ret.)
Judge Catherine Shaffer, King County Superior Court, Washington (Ret.)
Judge Nan R. Shuker, D.C. Superior Court (Ret.)
Judge Jacqueline Silbermann, Supreme Court, New York County, New York (Ret.)
Judge Fern M. Smith, U.S. District Judge, Northern District of California (Ret.)
Associate Justice Sheila Sonenshine, California Court of Appeals (Ret.)
Judge Merri Souther Wyatt, Oregon Circuit Court, Multnomah County (Ret.)
Judge Michael Spearman, Washington State Court of Appeals (Ret.)
Judge Julie Spector, King County Superior Court, Washington (Ret.)
Judge Diana I. Stuart, Oregon Circuit Court (Ret.)
Judge Paul Suzuki, Los Angeles Superior Court, California (Ret.)
Judge Jeffrey Swartz, Miami-Dade County Court, Florida (Ret.)
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Chief Justice Marsha Ternus, Iowa Supreme Court (Ret.)
Judge Philip E. Toci, Arizona Court of Appeals (Ret.)
Judge Michael J. Trickey, Washington State Superior Court and Court of Appeals (Ret.)
Associate Justice Annabelle Imber Tuck, Arkansas Supreme Court (Ret.)
Judge Art Wang, Washington Court of Appeals (Ret.)
Judge T. John Ward, U.S. District Court, Eastern District of Texas (Ret.)
Judge Gene Wedoff, U.S. Bankruptcy Judge, Northern District of Illinois (Ret.)
Judge Kerry Wells, San Diego County Superior Court, California (Ret.)
Judge John P. Wesley, Vermont Superior Judge (Ret.)
Judge Patricia Whalen, Vermont Family Court (Ret.)
Judge Ken Williams, Clallam County Superior Court, Washington (Ret.)
Judge Jeffrey K. Winikow, Los Angeles Superior Court, California (Ret.)
Judge Frances Q.F. Wong, O'ahu First Circuit Court, Hawaii (Ret.)
Judge Beverly Wood, Marin County Superior Court, California (Ret.)
Judge Thomas J. Wynne, Washington Superior Court (Ret.)
Chief Justice Michael Zimmerman, Utah Supreme Court (Ret.)




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